 8:05-cr-00163-LSC-TDT             Doc # 48   Filed: 05/31/05   Page 1 of 1 - Page ID # 76




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )            8:05CR163
                      Plaintiff,                   )
                                                   )
       vs.                                         )
                                                   )
JAZMIN CERNA,                                      )
                                                   )
                      Defendant.                   )


       This matter is before the court on the motion of Deborah D. Cunningham to withdraw
as counsel for defendant Jazmin Cerna (Filing No. 47). Ms. Cunningham seeks withdrawal
since Cerna has not maintained contact with Ms. Cunningham. The court has issued a warrant
for Jazmin Cerna’s arrest for violation of her conditions of release (Filing No. 37). As such,
Jazmin Cerna, is now a fugitive. However, Ms. Cunningham will remain as counsel for Jazmin
Cerna in the event Cerna returns to federal custody. Ms. Cunningham’s motion to withdraw
(Filing No. 47) is denied, without prejudice.
       IT IS SO ORDERED.
       DATED this 31st day of May, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
